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                    UNITED STATES COURT OF APPEALS
                        FOR THE FOURTH CIRCUIT
                   1100 East Main Street, Suite 501, Richmond, Virginia 23219

                                       May 18, 2021

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                               RECORD REQUEST
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No. 21-6778,      Justin Strom v. William Woolf, III
                  1:21-cv-00370-LMB-MSN

TO: Fernando Galindo

Please file the record in the above-referenced case in this court. If the record is
transmitted in electronic form, please ensure that any paper, sealed, or highly
sensitive portions of the record are also transmitted to this office. This includes
paper state court records and paper social security records filed in the district court.
For appeals in criminal cases, the presentence report and statement of reasons are
required.

Any highly sensitive documents must be sent to our court in paper form in a sealed
envelope marked HIGHLY SENSITIVE DOCUMENT. Mark the envelope as
(original) if it contains an original document which must be returned. Mark the
envelope as (copy) if the document does not need to be returned.

If there is anything that will delay transmission of the record, please notify me.

Ashley Brownlee, Deputy Clerk
804-916-2704
